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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 08-81443-CIV-HURLEY/HOPKINS

  SCS ALEXANDRE ET CIE,

          Plaintiff,

  v.

  LANA MARKS LTD., INC.,

        Defendant.
  ___________________________/

                       ORDER DENYING JOINT MOTION TO STRIKE ORDER

          THIS CAUSE is before the court upon the parties’ joint motion to strike the court’s order on

  trial preparation and calendar call [DE # 42]. On January 27, 2010, the court stayed this action for thirty

  days so the parties could finalize their tentative settlement agreement. See DE # 39. The thirty day stay

  expired on February 26, 2010, with neither party moving to extend the stay or continue trial. Observing

  that the case was nearing a previously set trial calendar (April), the court, on February 25, 2010, issued

  an order on trial preparation and calendar call. That order was not sent in error. Accordingly, it is

  hereby ORDERED and ADJUDGED that:

          1.      The parties’ joint motion to strike the court’s order on trial preparation and calendar call

                  [DE # 42]is DENIED.

          2.      The thirty day stay entered on January 27, 2010 is LIFTED.

          DONE and ORDERED in Chambers in West Palm Beach, Florida, this 10th day of March, 2010.



                                                           ________________________________
                                                           Daniel T. K. Hurley
                                                           U.S. District Judge
  Copies provided to counsel of record



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                                                                                       at http://www.judgehurley.com
